 Case 1:15-cv-08028-NRB Document 111-3 Filed 07/09/18 Page 1 of 20


TIFFANY TOTH                                                                                         April 13,2017
TOTH vs 59 MURRAY ENTERPRISES                                                                                73-76
                                                  Page 73                                                        Page 75
1                  T. TOTH                                   1                    T. TOTH
2    or what I post.                                         2      A Well, if I post something on social media
3       Q So I'm trying to understand the range of           3   and they're tagged in it and it's something like
4    what you're making off of ServeSpring, okay.           4    we've agreed on, you can repost, yes. And then
5          So to date, what's the maximum monthly            5   also, a lot of times websites will have where their
6    income you've received form ServeSpring because of      6   Instagram shows up on their website. So yes, it
7    your posts?                                             7   would be on there kind of automatically.
8       A                                           .        8      Q So just focusing on those types of
9       Q And you said that's per month, correct?            9   publications, the ones you post, and someone is
10       A Mm hm.                                           10    reposting.
11         MR. GOLASZEWSKI: You have to say yes.            11          Have you had any company repost your image
12       A Oh, yes.                                         12    over the past week where you've received
13       Q When did you start posting on behalf             13    compensation for their reposting?
14    ServeSpring? Do you recall when?                      14       A Compensation for their reposting? No,
15       A I don't remember. I've worked with other         15    because that's kind of already in. If they're
16   companies too, so.                                     16    paying you, then they can repost it. So it wouldn't
17      Q Just focusing on ServeSpring for a moment.        17   be like a separate thing.
18      A Okay.                                             18      Q Right. So a company contracts with you
19      Q Has it been less than a year?                     19   that they can repost your post that's promoting
20      A I don't know. I'm pretty sure it's over a         20   their brand, correct?
21   year. But I don't want to say for sure.                21      A Yeah.
22      Q All right. Now just focusing solely on            22      Q So what companies do you have that
23   companies that have you posting photographs of         23   agreement with, currently?
24   yourself to promote that brand.                        24      A I mean, I don't know like how I can say
25         Over the last month, have you worked with        25   currently, because it's been -- I've done it for

                                                   Page 74                                                        Page 76
1                 T. TOTH                                   1                     T. TOTH
2 any companies to do that?                                 2    years. I don't remember ever single person I've --
 3   A For Facebook?                                        3         Q I'm talking about at the moment.
4    Q Yes. Just focusing on Facebook.                     4              Are you contracted with any company to
 5   A Okay. Posted a picture of something?                 5    have that arrangement where they could repost your
6    Q Where you're in the picture?                         6    post and they pay you for that?
 7   A I don't think so. Not for Facebook.                  7         A Not contracted, no.
8    Q What about Instagram?                                8         Q Do you have any agreement with any company
 9   A Instagram, I probably have.                          9    where they can repost your post and then compensate
10    Q Do you recall what companies you did that          10     you about posting about them?
11 on behalf of?                                           11          A I mean, usually if you post for someone,
12    A Yeah, there's been quite a few of them,            12     you're compensated. But since you're doing that,
13 and a lot of them have since been deleted. So I         13     it's kind of like an agreement that they can repost
14 can't think off the top of my head of my head right     14     it if they want. A lot of times they don't, but
15 now.                                                    15     they can if they want to because they've been tagged
16    Q What about your over the past week.                16     in it, because when you tag them, it shows up on
17        Any companies that you posted your own           17     their profiles anyways.
18 photos or photos you've taken in the past to promote    18          Q Let me try it this way: When was the last
19 that company?                                           19     time you were paid by a company for them to repost
20    A I can't think right now.                           20     something you posted on social media?
21    Q Okay. So       besides  posting on your own        21          A I'd have to look back or think.
22 social media pages, do companies ever republish your 22             Q Was it in the past month?
23 own photos and videos to promote their brand, with      23          A Yes.
24 the caveat, on their own   website or social media      24          Q Do you recall what company that was for?
25 page?                                                   25          A Gosh, I can't even -- I mean, I've done so



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 Case 1:15-cv-08028-NRB Document 111-3 Filed 07/09/18 Page 2 of 20


TIFFANY TOTH                                                                                            April 13,2017
TOTH vs 59 MURRAY ENTERPRISES                                                                                   77-80
                                                      Page 77                                                       Page 79
1                    T. TOTH                                     1                  T. TOTH
 2   many. It could have been a book, an app. Like I             2       A If I post specifically what they want me
 3   can't think off the top of my head right now.               3   to post or tag their companies or certain hashtags,
 4       Q Do you recall how much you were                       4   yeah.
 5   compensated for that repost by that company?                5       Q Okay. So you can you name here today,
 6       A It's different. It depends on if it was               6   just one company that you've done that are for in
 7   like five hours, two days, a week. Everybody is             7   March of 2017?
 8   different. So sometimes they can come to you and            8       A In March for lingerie?
 9   present a rate and you say yes or no, or you can            9       Q Any company that you've posted for social
10    give them a rate. It depends on if it's something         10    media in. Even — let me rephrase this.
11    you want to do, or something you don't want to do.        11           Can you name one company that you've done
12    Something you want to receive the product and get         12    this reposting for in March of 2017?
13    paid. Its really case by case. It's really hard           13        A I don't know if it was March exactly. I
14    to give you a straight answer.                            14    think there was like a book I advertised. There was
15        Q Sure. Do you command a certain rate for             15    an app, like a travel app. I'd have to go through
16    the reposting?                                            16    e-mails and look, because stuff gets deleted.
17            For example, you said before, it could be         17        Q Understood. The book that you reposted,
18    for five hours. So do you command that that company       18    do you recall what book that was?
19    pays you X number of dollars for five hours of the        19        A It was -- I'd have to look back through my
20    repost?                                                   20    pictures.
21        A No, because I would already have that in            21        Q Do you recall what you were paid to post
22    mind in the rate, because I'm tagging them, So they       22    for the book?
23    are allowed to repost.                                    23        A I think it was a thousand. I think.
24        Q So what rate do you usually get for five            24        Q Do you recall when you posted about that
25    hours of posting?                                         25    book?

                                                    Page 78                                                       Page 8-6
                   T. TOTH                                    1                    T. TOTH
2       A                                                     2          A No.
                                                              3          Q Do you recall the last time --
                                                              4          A It was only a few hours.
                              .                               5          Q Do you recall the last time you posted a
 6      Q Okay. Do you currently do that type of             6       picture of yourself in lingerie on behalf of a
 7   arrangement with Spicy?                                 7       company?
 8      A No.                                                 8          A Well, I have a lot of companies send me
 9      Q Do you have that kind of arrangement with           9      stuff, so.
10   Roma?                                                   10           Q What do you mean by send you stuff?
11       A No. Some companies do, but.                       11           A If I have a shoot that like I want to do
12       Q What do you mean by some companies do? 12                  and it's for something -- like its a fun shoot that
13       A Some companies will pay you extra to post         13      I want to do and I need lingerie for it, companies
14   for them. If they have a specific -- for example,       14       will send me lingerie if I tag them.
15   in the pictures that I posted, it's not necessarily     15           Q So you get lingerie for free?
16   since it wasn't paid, I can post whatever I want. I     16           A Sometimes, yes. Sometimes they'll still
17   don't  have   to tag them. I don't have  to hashtag     17       send you product and pay you because they want a
18   specific things. So if a company pays you, they         18       specific post, like in a specific outfit, a certain
19   tell you what to   tag and what  to advertise. But  I'm 19       time, certain hashtags. But other times, they'll
20   free to post like whatever lingerie pictures.           20       let me go on the website and pick out anything I
21       Q Right. Because you're paid per post,              21       want, and I can use it in a shoot as long as I tag
22   right, so it's up to you, correct?                      22       them.
23           So if you post on behalf of a company           23           Q Do you recall the last time you were paid
24   where you give them a shoutout, that's how you are 24           money to post yourself on social media in lingerie.
25   compensated by that company?                            25           A I don't remember. Not in the past month.



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    Case 1:15-cv-08028-NRB Document 111-3 Filed 07/09/18 Page 3 of 20


TIFFANY TOTH                                                                                        April 13,2017
TOTH vs 59 MURRAY ENTERPRISES                                                                               81-84
                                                  Page 81                                                     Page 83
1                    T. TOTH                                1                 T. TOTH
2        Q Okay. Are you aware of any fake --               2      A Yes.
3           MR. SPIEGEL: Off the record.                    3      Q What do you sell?
4                  (Whereupon, an off-the-record             4     A My signed Playboy issue, headshots, and
5                  discussion was held at this               5   some other photos.
6                  time.)                                    6     Q Your sign Playboy issue, that's from
7                  (At this time, Attorney Peter             7   September 2011?
8                  Shapiro has entered the                   8     A Yes.
9                  deposition.)                              9     Q And what do you sell that for?
10        Q Are you familiar with any fake Facebook or      10      A I don't know what it is. I'd have to
11    Instagram profiles that were made -- strike that.     11   look.
12           Are you familiar with any fans who have        12       Q And your headshots, do you know what you
13    created fake Facebook profiles of you?                13   sell that for?
14        A I don't know if they're fans or not. But        14       A No.
15    yes, fake profiles.                                   15       Q Do you know what you sell any of the
16        Q Okay. Is this on Facebook and Instagram,        16   photos for, like how much?
17    or just on one social media platform?                 17       A It could be -- well, it's for the print.
18        A I've seen them on Instagram too and             18   So I mean, it's like            But I can't be sure.
19    Facebook.                                             19   I'd have to look.
20        Q Just focusing in 2017.                          20       Q Specifically talking about these items
21           How many fake profiles have you found?         21   that you sell on your website, do you know how much
22        A I counted like over 40.                         22   money you brought in from sales in 2016?
23        Q Just in 2017?                                   23       A I do not.
24        A Yes.                                            24       Q Do you know on average how much you sell
25        Q Do you take any actions to try to take          25   in merchandise per month?

                                              Page 82                                                           Page 84
1                T. TOTH                                 1                       T. TOTH
2 these profiles down?                                   2           A No, I don't.
3    A Yes.                                               3          Q What's your highest level of education?
4    Q What do you do?                                   4           A Some college.
5    A First step is you report them to Facebook,         5          Q Where did you go to college?
6 and Facebook will ban them and take them down.         6           A Santiago Canyon College.
7    Q These are people who did not ask your             7           Q Do you have any other type of education or
8 permission to post your photos, correct?               8       training?
9    A Correct.                                          9           A No.
10       Q Were any of these photos manipulated by       10           Q Besides modeling, are you currently
11   these uses?                                         11       working in any other industry?
12       A Sometimes.                                    12          A I do photography and makeup. But that's
13       Q In what way?                                  13       kind of like a thing on the side.
14       A I don't go through every photo. But I         14           Q So your main source of income comes from
15   have seen them manipulated by -- I can't remember 15         the modeling?
16   one specific. I mean, there are so many.            16          A Modeling, yes.
17       Q So when you contact Facebook and ask them 17               Q How did you get started in modeling?
18   to take down these profiles, they usually comply?   18          A I did a shoot for Playboy.
19       A Yes, because they're against Facebook         19           Q How old were you?
20   standards.                                          20          A Nineteen.
21       Q   And  before,  we  were discussing  your own 21           Q And how did you come to find Playboy, or
22   personal website.                                   22       how did Playboy find you?
23          I think it was TiffanyToth.net, correct?     23           A I went to, I think, it was like a casting,
24       A Yeah. Or OfficialTiffanyToth.com.             24       and I went to their main offices and they did like
25       Q Do you sell merchandise on that website?      25       Polaroids, and then called me back to do a shoot.



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 Case 1:15-cv-08028-NRB Document 111-3 Filed 07/09/18 Page 4 of 20


TIFFANY TOTH                                                                                        April 13, 2017
TOTH vs 59 MURRAY ENTERPRISES                                                                               85-88
                                            Page 85                                                           Page 87
1                T. TOTH                                      1                T. TOTH
2     Q At the time, were you represented by any              2   correct?
 3 agents or modeling agencies?                               3       A Yes.
4     A I don't believe so.                                   4       Q So how does it work now, if you're going
 5    Q I'm sorry, what is your agent's name, your            5   to do a shoot for somebody, they can either contact
6 current agent?                                             6    you directly or contact your agent who contacts you;
7     A Which one? There was three.                           7   is that right?
 8    Q Your press agent?                                     8       A Not everything is exclusive. So not
9     A Print agents?                                         9   everything is through the agency. I mean, now
10    Q Yes, print agent.                                    10    because of social media and just being online,
11    A There's Carol.                                       11    people can contact you through all social media
12    Q What's Carol's last name?                            12    platforms. They can contact you through your
13    A Scott.                                               13    website, get referred by other models,
14    Q Who else?                                            14    photographers. It's pretty easy to get in touch
15    A And then there's Teresa Otto.                        15    with us to book us for a job.
16    Q And what's Teresa's last name?                       16        Q
17    A That's Otto, O-T-T-O.
18    Q And she's the one who works for Otto
19  Company,  correct?
20    A   Mm   hm.
21       MR.  SPIEGEL:    Can we take a break for a          21
22    couple of minutes  off the record?                     22
23       MR.  GOLASZEWSKI:        Sure.                      23
24              (Whereupon, an off-the-record                24
25              discussion was held at this
                                                   Page 86                                                    Page 88
1                    T. TOTH                                 1                 T. TOTH
 2                 time.)                                    2       A
 3       Q So where we left off, you were saying that        3
 4   your first entrance into modeling was Playboy,          4
 5   correct?                                                5
 6       A Yes.                                              6
 7       Q Were you contacting agents prior to               7
 8   working with Playboy?                                   8
 9       A I don't remember if I did or not.
10        Q Were you trying to break into modeling           10
11    prior to Playboy?                                      11
12        A I had just wanted to be a Playmate.              12
13        Q Do you recall after you signed with              13
14    Playboy and were featured in their issue, the first    14      Q Okay. I'm going to show you what's marked
15    agency you signed with?                                15   as TT17.
16        A I'm sorry, what?                                 16               (Whereupon, a sample release
17        Q After you shot for Playboy, do you recall        17               form was marked as Exhibit TT17
18    the first agency you ended up signing with?            18               for Identification.)
19        A I don't remember at the time who it was.         19      Q For the record, this is a sample release.
20        Q Talking about your modeling now, when you        20   You are not the party to this release, okay.
21    do a photo shoot.                                      21      A Okay.
22            You said you have three different agents,      22      Q I'm just showing this to you to see if you
23    correct?                                               23   recognize the language of what this release is.
24        A Yes.                                             24      A Okay. This isn't a release that I've
25        Q Two for print, and one for commercials,          25   signed?



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 Case 1:15-cv-08028-NRB Document 111-3 Filed 07/09/18 Page 5 of 20


TIFFANY TOTH                                                                                              April 13,2017
TOTH vs 59 MURRAY ENTERPRISES                                                                                     89-92
                                                      Page 89                                                         Page 91
 1                  T. TOTH                                        1                   T. TOTH
 2       Q This isn't a release that you've signed,               2        Q When we looked at Exhibit A of complaint
 3   and as far as I know, not a company that you have             3   which is marked as TT1, do you recall what company
4    worked for.                                                   4   you took the first image of those images for?
 5       A Okay.                                                   5           MR. GOLASZEWSKI: Objection.
 6       Q I just want to show you a sample release,              6        A Yes.
 7   that is TT 17.                                                7       Q What company was that?
 8            Have you ever seen a release that looks              8       A Mystery House.
 9   like that?                                                    9       Q Mystery House. You did say that before,
10            MR. GOLASZEWSKI: Take a minute and look             10    right.
11        it over.                                                11        A Yes.
12        A This doesn't look like one I've signed.               12        Q And then the second photo, who did you say
13    But I have seen parts of this.                              13    you took this photo for?
14        Q It doesn't look like a typical contract               14            MR. GOLASZEWSKI: Objection.
15    release?                                                    15            You can answer.
16        A This looks like it's an exclusive for this            16        A Roma.
17    company.                                                    17        Q Yet you currently do not work for Mystery
18        Q Okay. So what's the difference between                18   House or Roma anymore, correct?
19    this contract release that you're looking at, and           19        A I don't know if Mystery House is still
20    one that you've signed this the past?                       20    around or not.
21        A This one says that they cannot for work or            21        Q Okay. So if it's not around, you wouldn't
22    competing lingerie companies.                               22    be working for them, correct?
23        Q Is that the only difference you see?                  23        A Well, they started doing, I think, it was
24            MR. GOLASZEWSKI: Objection.                         24    like -- what is that, like shape wear or something I
25        A That, and I've never signed one that says             25    did a shoot for some time last year. But I don't

                                                        Page 90                                                       Page 92
1                    T. TOTH                                       1                  T. TOTH
 2   that they can use my name to promote like in the              2   know like their current statute. Like they're
 3   release.                                                      3   currently working, but I don't know if they're still
 4       Q If you would, look at the last page which               4   doing costumes.
 5   is Exhibit B of the contract.                                 5       Q Like body shapers, you mean?
6           Does that look like typical release                   6        A Yeah.
7    language you've seen?                                        7        Q Do you recall when you started to work
8           MR. GOLASZEWSKI: It's the appendix page.               8   with Mystery House?
9        A What did you ask?                                       9       A It was a long time ago.
10       Q Does that look like typical release                    10       Q Before 2010?
11    language you've seen in the contracts?                      11       A Yeah.
12           MR. GOLASZEWSKI: I'm just going to object            12       Q And what about Roma.
13       to the question.                                         13           Do you recall when you started to work
14       A It looks similar. But in my releases,                  14    with them?
15    now -- I mean, I don't know what I started -- but I         15       A It could have been 2000 -- it could have
16    have a little clause at the end that says I still           16    been 2007, 2008. I can't be sure, but somewhere
17    own my likeness, and that, say this happens, someone        17    around that time.
18    steals my image, I have a right to my likeness.             18       Q Is it fair to say that when you first
19       Q But you don't recall when you started to               19    started to work with Mystery House and Roma, you
20    add that into the releases?                                 20    didn't have that clause in it saying that you owned
21       A I don't recall that, but I do have that                21    your likeness?
22    now.                                                        22       A It could have been in if it was already on
23       Q Okay. I'm not sure if I asked this                     23    there. Not my specific clause, but I'd have to find
24    question before. So I'm going to re-ask it.                 24    or ask them.
25       A Okay.                                                  25        Q Do you have a copy of the contracts that


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Case 1:15-cv-08028-NRB Document 111-3 Filed 07/09/18 Page 6 of 20


TIFFANY TOTH                                                                                           April 13, 2017
TOTH vs 59 MURRAY ENTERPRISES                                                                                  93-96
                                                    Page 93                                                      Page 95
 1                  T. TOTH                                    1                 T. TOTH
 2   you had with Mystery House and Roma?                      2      A No.
 3       A I'm sure I do somewhere.                            3      Q Before or after this edition?
 4           MR. SPIEGEL: On the record, I would ask           4      A Oh, wait.
 5      that you produce copies of those contracts.            5      Q Have you posed nude for anyone else
 6          MR. GOLASZEWSKI: To the extent I'm going           6   besides Playboy ever in your career?
 7       to produce, we certainly will.                        7      A No.
 8          MR. SPIEGEL: And on the record, that's             8      Q Did you consider the             you were
 9      any contract you've had over the past 10 years         9   compensated adequate compensation for this job?
10        with Mystery House or Roma.                         10           MR. GOLASZEWSKI: Objection.
11           THE WITNESS: Okay.                               11       A What do you mean, like for the --
12        Q And I think we might have been a little           12       Q Sorry. For being selected Playmate of the
13   bit confused before, because you were Playmate of        13   month and receiving            , did you feel like that
14    the month in 2011, you said, correct?                   14    was a good amount of money to be paid?
15        A Yes.                                              15          MR. GOLASZEWSKI: Objection.
16        Q But that's not when you first started to          16       A Yeah, because it was a job that I had
17   work with Playboy, right?                                17    wanted to do, and also just the benefits of being
18        A Right.                                            18    part of Playboy. I mean, I got to travel and work
19        Q So do you recall what year was the first          19   quite a few jobs.
20   year you were featured in Playboy?                       20       Q Where was the photo shoot, where did it
21        A It was an online future in 2005, I                21   takes place for when you were selected as Playmate
22   believe.                                                 22   of the month?
23        Q All right. So let's talk about the                23       A At the studio.
24   edition where you were Playmate of the month.            24       Q Where is the studio?
25           From what I could tell from looking at           25       A At the time, it was Santa Monica.

                                                    Page 94                                                        Page 96
 1                  T. TOTH                                    1                  T. TOTH
 2   your tax returns, is that you were paid $        for      2      Q Did they pay for your lodging in Santa
 3   that photo shoot, correct?                                3   Monica?
 4       A Yes.                                                4      A Well, I was technically like a local
 5       Q As far as compensation-wise, is that the            5   Playmate. So I would just stay the night at the
6    biggest job you've done for modeling?                     6   guest house at the mansion.
 7       A I believe so.                                       7      Q Do you recall how many day of photo shoots
 8       Q That's most lucrative?                              8   that were entailed in that Playmate of the month
 9           Is the most amount of money you've been           9   spread?
10    compensated for a photo shoot             ?             10       A That shoot, I believe it was just one day.
11        A Yes.                                              11       Q When you say "one day," are we talking
12        Q And then when you're selected as Playmate         12    about eight hours in a day or longer or less?
13    of the month, what else is entailed with that honor?    13       A I don't remember how many hours it was.
14        A That I'm required or that you get as like         14    Usually, just until we got the shot that we liked.
15    a benefit?                                              15       Q So if you know, what was the second most
16        Q That you're required pursuant to your             16    amount of money that you've ever been paid for any
17    agreement with them?                                    17    company?
18        A That I'm required. I mean, I'm not really         18       A I don't remember.
19    required to do anything besides just not posing nude    19       Q Would it be more than              ?
20    for competitors.                                        20       A It might have been. I don't know. I only
21        Q Okay. So is that edition of Playboy where         21    remember Playmates specifically, because it's like
22    you're featured as Playmate of the month, you were      22    such a public knowledge that you get.
23    fully nude?                                             23       Q Are you familiar with the term Playboy
24        A Yes.                                              24    Fresh Face?
25        Q Have you posed fully nude for anyone else?        25       A Yes.



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 Case 1:15-cv-08028-NRB Document 111-3 Filed 07/09/18 Page 7 of 20


TIFFANY TOTH                                                                                            April 13, 2017
TOTH vs 59 MURRAY ENTERPRISES                                                                                  97-100
                                                     Page 97                                                        Page 99
1                    T. TOTH                                    1                  T. TOTH
2        Q What is a Playboy Fresh Face?                        2       Q Do you recall how much you were paid for
 3       A I think it was one of their -- it was like           3   being featured as Cybergirl of the month?
4    back in the day, it was like one of their other            4       A I don't remember at the time. It was a
 5   websites that they had, like when they used to do          5   long time ago.
6    like -- I mean, I'm not familiar with it now. But          6       Q And what about a blogger for Playboy
 7   they would have like wives of Playboy or like              7   called Playboy Blogger?
8    college girls of Playboy, Fresh Faces. There was           8       A I don't know what that is.
9    like a bunch of different stuff affiliated with            9       Q What about a Playboy radio host or for a
10    them. I'm not really familiar with it now.               10    guest appearance on Playboy Radio?
11        Q From the information we've received, it            11        A Yes.
12    looks as though you were featured three times as a       12        Q When did you do that?
13    Playboy fresh face; does that sound right?               13           MR. GOLASZEWSKI: Objection.
14        A No, not three times.                               14        A It probably would have been 2011 when I
15        Q How many times were you featured?                  15    was Playmate.
16        A I think just once, but you would shoot             16        Q Was that part of your contract, that you
17    like multiple looks that day.                            17    would go on their radio show?
18        Q So could it be possible that you had three         18        A It wasn't required.
19    different pictures from one shoot?                       19        Q Were you paid to appear on the radio show?
20        A Yes.                                               20        A I don't know if I was paid or not, or if
21        Q Okay. Do you recall when you were                  21    it was just something I wanted to do. I don't
22    featured as the Playboy fresh face?                      22    remember exactly. But it wasn't required.
23        A That would have been when I was like 19            23        Q You said 2011.
24    years old. So I don't know.                              24           Do you recall how many times you appeared
25        Q Is this when you were talking about the            25    on air?

                                                   Page 981                                                         Page 100
 1                    T. TOTH                                1                      T. TOTH
2    first job did you with Playboy?                        2           A Probably I think it was once.
 3       A It was around that time, yes.                     3          Q Were there any photos or videos taken from
4        Q Besides photos that were taken, were there       4       that?
 5   any videos taken and posted?                            5          A Not that I remember. If there was, it
6        A     Yes.                                         6       would have been me taking them. But to be honest,
7        Q There was a video posted online?                 7       it was really bad light in there, so I wouldn't have
8        A On their website.                                8       taken a photo.
 9       Q Do you recall what you were paid for both        9           Q Now, outside the brand ambassador or
10    the photos and the videos?                            10       promoter of Playboy we discussed before, I think,
11        A I don't remember.                               11       you said it was called Blackheart Rum promoter?
12        Q What about Playboy Cybergirl.                   12          A It's a rum company, yes.
13            It looks as though you were featured          13          Q Do you recall when that was, when you were
14    November 2005; does that sound correct?               14       brand ambassador for Blackheart Rum?
15        A Yes, that was the first shoot.                  15          A That was last year.
16        Q How many times were you featured as a           16                     (Whereupon, a contract with
17    Playboy Cybergirl?                                    17                     Blackheart Rum was marked as
18        A Well, you can only be featured once. So         18                     Exhibit TT18 for
19    there would be Cybergirl of the week, so you only     19                     Identification.)
20    have one week, and then they vote for who they        20          Q I'm going to show you what's been marked
21    choose as Cybergirl of the month, and then you would 21        TT18, and this is the -- I believe this is the
22    have one month.                                       22       contract between and you Blackheart Rum that you
23        Q So were you featured both Cybergirl of the      23       were just referring to, correct?
24    week and Cybergirl of the month?                      24          A Correct.
25        A Correct.                                        25          Q If you look at the second page at the very



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 Case 1:15-cv-08028-NRB Document 111-3 Filed 07/09/18 Page 8 of 20


TIFFANY TOTH                                                                                            April 13,2017
TOTH vs 59 MURRAY ENTERPRISES                                                                                 101-104
                                                   Page 101                                                       Page 103
1                     T. TOTH                                   1                    T. TOTH
 2   top where it says payment, and it says            photos    2   were paid by Playboy?
 3   usage.                                                      3        A I don't know if I did a post in March for
4            Is that a typical amount you're paid for a         4    Playboy. I don't think I did in March.
 5   company to use your photo?                                  5        Q What about in 2016.
 6           MR. GOLASZEWSKI: Objection.                        6            Do you know how much Playboy paid you for
 7       A It could be. If it's something I want to             7    that year?
 8   do, yes.                                                    8        A Like for anything or just posts?
 9       Q And the following bullet point where it               9        Q Yeah. Your total compensation in 2016,
10    says         for a full-day video shoot.                  10    how much were you paid by Playboy?
11            Is that the typical fee you charge for a          11        A I don't remember. I'd have to look back
12    full-day video shoot?                                     12    at the tax returns.
13            MR. GOLASZEWSKI: Objection.                       13        Q Did you file your 2016 tax returns?
14        A Not the typical rate.                               14        A Yes.
15        0 And the fourth bullet point, it is says             15        Q When did you file them?
16           per social post, and 8 to 9 total.                 16        A Just recently.
17            So I guess that means that you agreed to          17            MR. SPIEGEL: For the record, we make a
18    post eight to nine times, is that correct?                18        demand for the 2016 tax returns.
19        A They would pay per post which they                  19            MR. GOLASZEWSKI: You will have them.
20    actually ended up buying more posts since this            20        Q So we have a number of your tax returns.
21    contract.                                                 21    I just want to go through them pretty briefly, okay.
22         Q Okay. So just looking just at this                 22            MR. SPIEGEL: Off the record for a moment.
23    contract though.                                          23                  (Whereupon, an off-the-record
24            Is that a typical amount that a company of        24                  discussion was held at this
25    this size would pay you to post on social media?          25                  time.)
                                                   Page 102                                                        Page 104
1              T. TOTH                                    1                          T. TOTH
2      A I mean, usually I get paid more, but I           2                        (Whereupon, 2011 financial
 3   agreed to pay this, or to be paid for this, because  3                        information was marked as
 4   this was something I wanted to do.                  4                         Exhibit TT19 for
 5       Q You said they now agreed to pay more or        5                        Identification.)
6    for additional posts, correct?                      6               Q So in front of us is a tax return for you
 7       A Yes.                                          7           for 2011; is that correct?
 8       Q When did they approach you to renegotiate     8               A Yes.
 9   this?                                               9               Q Okay. If you would, go forward three
10       A   They   did that through Playboy.            10           pages. Schedule C, top left corner. It says,
11       Q When was that?                                11           Schedule C 1040 for sole proprietorship, and it says
12       A During this, at the end of last year.         12           Tiffany Gray which you said is your name, correct?
13       Q At the end of last year?                      13               A Correct.
14       A Mm hm. Sometime around there.                 14               Q And it's for modeling. And on this return
15       Q Was this after the contract was over?         15           on the right-hand corner, it says your gross income
16       A No, during.                                   16           is        .
17       Q Do you have a new contract with them?         17                  Does that sound correct for 2011?
18       A No. They just contact Playboy and pay us      18               A If that's on here, then yes.
19    through Playboy. It wasn't required, it was just   19               Q So that was your total income for 2011 to
20    adding on more. So there wasn't a contract for     20           the best of your knowledge, correct?
21    more.                                              21               A I guess so.
22       Q As of March 2017, are you still being paid    22               Q If you would, turn to tab 7.
23    by Playboy for advertisements or posts?            23                  MR. SPIEGEL: And we can mark that as
24       A Sometimes.                                    24             TT20.
25       Q So in March 2017, do you know how much you 25                          (Whereupon, 2012 financial


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 Case 1:15-cv-08028-NRB Document 111-3 Filed 07/09/18 Page 9 of 20


TIFFANY TOTH                                                                                        April 13,2017
TOTH vs 59 MURRAY ENTERPRISES                                                                             105-108
                                                Page 105                                                     Page 107
1                    T. TOTH                               1                    T. TOTH
2                  information was marked as               2                  Exhibit TT23 for
3                  Exhibit TT20 for                         3                 Identification.)
4                  Identification.)                        4        A These are your individual tax returns for
 5       Q And this is your individual tax returns          5   2015, correct?
6    for 2012, correct?                                    6           MR. GOLASZEWSKI: Objection.
7           MR. GOLASZEWSKI: Objection.                     7       A Oh, yes.
 8       A Correct.                                         8       Q Now if you would, turn to marked as
 9       Q Now if you would, turn to Page 4 of the         9    Plaintiffs 001134, and its probably 10 or 15 pages
10    tax return which is also marked Plaintiffs 001088.   10    deep.
11           This is your Schedule C showing income of     11           MR. GOLASZEWSKI: 001134.
12             correct?                                    12       Q And here it shows that you made a gross
13       A Correct.                                        13    income of            , correct?
14       Q Is this accurate, this number?                  14       A Correct.
15       A I think so.                                     15       Q If you would, turn to the first page.
16        Q Okay. If you would, turn to tab 8 which        16    Beginning of the tab.
17    we could mark as TT21.                               17           I'm sorry, can you actually turn two
18                  (Whereupon, 2013 financial             18    pages.
19                  information was marked as              19           MR. GOLASZEWSKI: Plaintiffs 1118?
20                  Exhibit TT21 for                       20           MR. SPIEGEL: Correct.
21                  Identification.)                       21       Q So it shows here in a 1099 you received
22        Q These are individual tax returns for 2013,     22    from Roma Costumes, correct?
23    correct?                                             23        A Correct.
24           MR. GOLASZEWSKI: Objection.                   24        Q And you received $          , correct?
25        A Correct.                                       25        A Correct.
                                                Page 106                                                       Page 108
1                    T. TOTH                               1                    T. TOTH
2        Q If you would, turn to the fourth page           2       Q What was entailed for this compensation?
3    which is also marked as Plaintiffs 001102.             3          Why did they pay you?
4           The Schedule C shows that you made gross       4       A It would have been a photo shoot.
5    income of $          ; is that correct?                5      Q Do you know how many photo shoots this
6        A That's what it says here, so I guess            6    entailed?
7    that's correct.                                        7      A I don't remember.
8        Q If you would, turn to tab 9, please.             8          MR. GOLASZEWSKI: Just for the record,
9           MR. SPIEGEL: Can you mark this as TT22.         9      there appears to be two 1099s on this page and
10                 (Whereupon, 2014 financial              10       they are identical amounts.
11                 information was marked as               11           They may very well be the same job, but
12                 Exhibit TT22 for                        12       just for the record, I don't know.
13                  Identification.)                       13       Q If you would, turn to the next page. On
14       Q This is showing your individual tax             14    top left corner, it says First Slice Media, LLC.
15    returns for 2014, correct?                           15           And it looks as though you were
16       A Correct.                                        16    compensated $             ; is that correct?
17       Q If we turn to the fourth page which is          17       A Correct.
18    also marked as Plaintiffs 001110.                    18       Q And do you know what this was for?
19           It shows gross income of $       ; is that    19       A At the time, it was a company that I
20    correct?                                             20    posted on my Facebook with them.
21        A It looks like that, yes.                       21       Q So you reposted on your Facebook for them?
22        Q Okay. Now let's go to Exhibit 10, please.      22           MR. GOLASZEWSKI: Objection.
23           MR. SPIEGEL: Can we mark this as TT23.        23       A No, I posted articles.
24                  (Whereupon, 2015 financial             24       Q So no photographs were included?
25                  information was marked as              25       A No, not of me.


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Case 1:15-cv-08028-NRB Document 111-3 Filed 07/09/18 Page 10 of 20


TIFFANY TOTH                                                                                          April 13, 2017
TOTH vs 59 MURRAY ENTERPRISES                                                                               109-112
                                                  Page 109                                                       Page 111
1                    T. TOTH                                    1                 T. TOTH
2        Q Okay. If we turn to the next page which              2       Q So this         this is for a photo shoot?
 3   is Plaintiffs 001120. And this is J. Valentine.            3       A I've only done photo shoots with them,
4        A Valentine.                                          4    yes.
 5       Q Valentine Inc. What is J. Valentine Inc.?            5       Q Only if you know, do you know how many
6        A It's a costume lingerie company.                    6    photos shoot you did in 2015 to receive this number?
 7       Q And you were compensated $             , correct?    7         MR. GOLASZEWSKI: Objection.
 8       A That's with it says here.                            8       A I don't remember for 2015.
 9       Q Was this for a photo shoot?                         9        Q Over your lifetime, do you know how many
10        A It could have been. 2015. I mean, I've             10    photo shoots you've done for 81 Enterprises Inc.
11    worked like an appearance for them before.               11       A I have not clue.
12        Q So do you know what this money was for?            12       Q Is it somebody you work with today?
13        A Probably a photo shoot, but I can't say            13       A Yes.
14    for sure.                                                14       Q Do you have a contract with them?
15        Q I'm sorry, and what kind company is J.             15       A No contract.
16    Valentine, Inc.?                                         16       Q Do you have a release with them?
17        A Like lingerie, costumes.                           17       A Release. With that clause in there.
18        Q Are they known by any other name, any              18       Q Do you have a release with them for 2015?
19    other website?                                           19       A I always have a release with them, yes.
20        A Not that I know of.                                20       Q Do you have a release in your possession.
21        Q Do you know if you have a release or               21    When I say in your possession, I mean in your home
22    contracts signed with J. Valentine?                      22    or your records anywhere?
23        A A release.                                         23       A Yes.
24        Q If we turn to the next page, Plaintiffs            24          MR. SPIEGEL: If it's not already
25    001121.                                                  25       produced, I would like to have it produced.

                                                 Page 110                                                      Page 112
 1                 T. TOTH                                 1                        T. TOTH
 2         And it says you received $        from           2             THE WITNESS: I can get it before we
 3   Cunningham Escott Slevin and    Doherty.               3          leave.
4          What kind of company was that?                  4              MR. SPIEGEL: Even better.
 5      A That was CESD.                                    5          Q Turn the page to Plaintiffs 001124.
6       Q What is CESD?                                    6           A The net page?
7       A That's the agency.                               7           Q Yes, please. This is from
 8      Q Why did you receive             ?                 8       HH Entertainment, Inc.
9       A That would have been for a job.                   9             Do you know what type of company
10       Q Photo shoot?                                    10       HH Entertainment Inc. is?
11       A I don't remember exactly what it was. It        11           A I don't remember.
12   might have been when I first started. I don't         12           Q Okay. And if you turn the page, there
13   remember what job it was.                             13       appears to be 1099s for Hyperdrive Corp. and there
14       0 And if you turn the page, please. It's          14       are four of them here. But they look to be the
15   Plaintiffs 001122. This was         from LVC, LLC.    15       same.
16          Do you recall what kind of company this        16              It all looks to be the same amount?
17   is?                                                   17           A It looks like copies.
18       A I don't even know who that is.                  18           Q Those are copies?
19       Q If you turn the page, it's from 81              19           A Yeah.
20   Enterprises, Inc. You received $                      20           Q Do you know what kind of company
21          Do you know what company kind of company 21             Hyperdrive Corp. is?
22   81 Enterprises, Inc. is?                              22           A I don't remember.
23       A Yes.                                            23           Q Do you recall what this compensation is
24       Q What kind of company is it?                     24       for?
25       A A lingerie.                                    125           A Uh-huh.



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Case 1:15-cv-08028-NRB Document 111-3 Filed 07/09/18 Page 11 of 20


TIFFANY TOTH                                                                                                  April 13,2017
TOTH vs 59 MURRAY ENTERPRISES                                                                                       113-116
                                                        Page 113                                                    Page 115
 1                    T. TOTH                                       1                 T. TOTH
 2        Q If you could, turn the page, please.                    2      Q Do you know what that was for?
 3   Plaintiffs 001126. Looks like you have one check               3      A I don't remember who Caps is. I don't
4    for        and a duplicate check here. Another check          4    remember who that is. Sometimes they have different
 5   for          , and a duplicate check there. I'm sorry,         5   names. I don't remember.
6    take that back. Strike that.                                  6       Q And another check from Bench Warmer.
 7            These are different checks just for the               7         So Bench Warmer, are they taking photos of
 8   same amount, but for different dates; is that                  8   you, or are you giving them photos form them to put
 9   correct?                                                       9   on a plate?
10        A Correct.                                               10       A They pay you to do a photo shoot.
11         Q What kind of company is Bench Warmer?                 11       Q So at the very bottom, that check for
12         A It's like trading cards.                              12          --
13         Q And it has you featured on the cards and              13       A That wouldn't be for the shoot.
14    some personal information about you on them?                 14       Q So do they pay you both for the shoot and
15         A Yes.                                                  15   for the sale of the cards?
16         Q How were you compensated by Bench Warmer?             16       A Each time you come in and sign some cards,
17             Was it per sale of the trading cards, or            17    they pay you.
18    did they just pay you flat rate?                             18       Q How do you know that's not for the shoot?
19         A I've done where I've been paid for photo              19       A Because I would have been paid more for
20    shoots. I've been paid to sign. There are multiple           20    the shoot.
21    times I would come in and sign some cards and get            21       Q Do you know what you were paid for the
22    paid. I've been paid to post for them. So I mean,            22    shoots?
23    it's different all the time.                                 23       A I don't remember. It's not here, so I
24         Q So in this particular instance where we               24   don't remember.
25    have checks for                           , do you recall    25       Q If you could, turn to Plaintiffs 00128.

                                                    Page 114                                                              Page 116
1                    T. TOTH                                       1                      T. TOTH
2    what this entailed?                                            2            MR. GOLASZEWSKI: For the record, it's
3         A It was probably to sign some cards.                     3       001128.
4         Q And below that is two checks for                       4             MR. SPIEGEL: I'm sorry. Thank you.
 5   for a Spicy Lingerie, correct?                                 5       Q Plaintiffs 001128. The second check down
6         A Correct.                                               6    is for AW Production Inc. for           . On the bottom
 7        Q Do you recall what that was for?                        7   left it says, let's F/S full day.
8         A I don't know. It says on here, hashtag                  8            Is that for a full day of photo shoots?
9    modeling. So I don't know if it was like a post                9       A I think that's -- I mean, I've done makeup
10    or -- I'm not sure. I've worked for them quite a             10    for them too. So I don't know if that was for doing
11    bit.                                                         11    makeup on the model. I don't know. I don't
12         Q Turn the page to Plaintiffs 001127. The               12    remember. I've worked with them as a makeup artist
13    top check is from Golyta International Inc. I don't          13    as well.
14    know if I'm saying that right. And it's a check for          14        Q Have you gone to cosmetologist school?
15            and the bottom left, it says iCollection photo       15        A No. You don't need it to work on photo
16    shoot.                                                       16    shoots, only if you work in a salon.
17            Does that ring a bell?                               17        Q Okay. And the next check down for
18         A Yes, that sounds familiar.                            18    from National Corset Supply House.
19         Q What was this for?                                    19             And do you see where it says for, it say's
20         A Don't know. I don't remember.                         20    body shots, photo?
21         Q Okay. This looks like a copy of a check,              21        A Okay. Yes.
22    if you read below, which is for            from Caps,        22        Q Do you recall what this was for?
23    LLC.                                                         23        A I don't remember that one.
24            Do you see that?                                     24        Q Okay. And the next one below it, if from
25         A Yes.                                                  25    Pacific Group NY, LLC for a



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Case 1:15-cv-08028-NRB Document 111-3 Filed 07/09/18 Page 12 of 20


TIFFANY TOTH                                                                                               April 13, 2017
TOTH vs 59 MURRAY ENTERPRISES                                                                                    117-120
                                                 Page 117                                                             Page 119
1                     T. TOTH                                      1                   T. TOTH
 2          Do you recall what that was for?                       2   for the reposting from First Slice Media, this was
 3       A I don't recognize that name either.                     3   all part of your tax returns in 2015, correct?
4        Q Okay. And the next page which is                        4        A It should be, if it was. My husband does
 5   Plaintiffs 001129. There's a check for $       from           5   the taxes, so I just hand over everything.
6    Spicy Lingerie.                                              6         Q I just want to make sure that I understand
7           Do you recall what this was for?                       7   that your income from 2015, your reported income of
 8       A I do not. It just says hashtag model. So                8   $         , I want to see how much of that is
 9   I don't know.                                                 9   attributed to modeling and how much of that is
10       Q Have you ever done any work for Spicy                  10    attributed to posting, makeup, whatever else you're
11    Lingerie outside of modeling?                               11    doing on the side.
12       A What do you mean?                                      12            Do you have any idea of how much this
13       Q Other than modeling for photo shoots, have             13    $          would be attributed to modeling?
14    you done any other work with them?                          14            MR. GOLASZEWSKI: Objection.
15       A I don't remember if I have for not.                    15         A All of it, because that's my -- I mean, I
16       Q The next page which is marked as                       16    only work maybe makeup jobs here on there if I want
17    Plaintiffs 001130, and this says financial                  17    to. But for the most part, it's -- I'd say,
18    statements. I don't know what this is. This was             18    99 percent is modeling.
19    produce indeed discovery.                                   19         Q So do you consider the reposting on
20           Is this from your checking account?                  20    Facebook modeling?
21       A This looks like PayPal.                                21         A It is, yes.
22       Q So where it has sales activity of                      22         Q Same thing. So for this First Slice
23    $            .                                              23    Media -- just talking about them only -- correct me
24           Do you see that five rows down?                      24    if I'm wrong, I think you said before that you were
25       A Yes.                                                   25    reposting articles?

                                                       Page 118                                                     Page 120
1                     T. TOTH                                     1                  T. TOTH
 2        Q Is that from your sales of photographs?               2       A Yes, articles. But about — they could
 3        A That would have been anybody who paid me               3   have an article about you if they wanted, as well.
4    with PayPal. So I couldn't give a specific, who              4       Q But not all the reposting that you're
 5   it's from or from what.                                       5   doing has a picture of you this it, correct?
 6        Q So you have no way to know how much of                6       A Correct.
7    this $          is attributed to modeling, correct?           7      Q And that's all encompassed in this
 8        A I mean, it would all be from modeling,                 8   modeling Schedule C, correct?
 9   because I don't get PayPal money from anywhere else           9      A Yes.
10    besides if it's for like posting something or a job         10          MR. SPIEGEL: Off the record.
11    or -- I mean, nobody's just sending me money to my          11                 (Whereupon, an off-the-record
12    PayPal, you know.                                           12                 discussion was held at this
13         Q So prior to this when were speaking about            13                 time.)
14    you doing the posting, I think we saw a check here          14       Q So part of the allegations in the lawsuit
15    for Fist Slice Media, LLC for $          .                  15   is that you do not want to be associated with a
16            So when they gave you that money, they              16   strip club, correct?
17    give you a check?                                           17       A Correct.
18         A Yes.                                                 18       Q Have you ever worked as an exotic dancer
19         Q So whenever you do posts on social media,            19   or stripper?
20    you receive checks?                                         20       A No.
21         A Checks or PayPal or direct deposit.                  21       Q Have you ever worked in a strip club?
22         Q So sometimes you do receive PayPal                   22       A No.
23    compensation when you're reposting on social media?         23       Q Have you ever worked as an escort, even no
24         A Yes.                                                 24   just sex, companionship?
25         Q Okay. So this $             that you received        25       A No.



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Case 1:15-cv-08028-NRB Document 111-3 Filed 07/09/18 Page 13 of 20


TIFFANY TOTH                                                                                             April 13,2017
TOTH vs 59 MURRAY ENTERPRISES                                                                                  121-124
                                                    Page 121                                                       Page 123
 1                   T. TOTH                                    1                   T. TOTH
 2       Q Have you ever done any advertisement for a           2       Q Do you know them on a personal level?
 3   strip club?                                                3       A No.
 4       A No.                                                  4       Q You just know them from the lawsuit?
 5       Q Have you ever seen an advertisement for a            5       A Yes.
 6   strip club?                                                6       Q I'm going to show you the caption of the
 7       A Yes.                                                 7   complaint which is marked as TT1. I would like you
 8       Q Do you expect those women who are                    8   to take a look at all the named plaintiffs and see
 9   advertising for the strip club to be present at the        9   if you recognize any of the names.
10   strip club?                                               10        A Yes.
11        A Probably. If they're advertising it, yes.          11        Q Which ones do you recognize?
12        Q Have you ever been to a strip club?                12        A Gemma, Jessa.
13        A Yes.                                               13        Q Gemma's last name is Gemma Lee Farrell?
14        Q Have you ever seen an advertisement for            14        A Yes.
15   that strip club that you've been to?                      15        Q And Jesse Hinton?
16        A What do you mean? Like on a billboard              16        A Yes. Jesse Golden. I think I worked with
17    somewhere?                                               17    Sheena back in the day. I don't know her
18        Q Sure.                                              18    personally, no. Heather Rae Young. Rachel.
19        A Yes.                                               19    Sabella, I think I worked with once. I know Ursala,
20        Q Were those women that you saw advertising          20    and I met Carmen once on a job.
21   for that strip club at the strip club?                    21        Q So you know pretty much all of them?
22       A They could have been. I mean, sometimes             22        A Pretty much.
23   they're good looking. Sometimes they're not. It's         23        Q These are exhibits to the complaint, but
24   hard to tell sometimes.                                   24    I've redacted the names.
25        Q Have you ever typed your name into Google?         25           I just want to know if you could tell me

                                                 Page 122                                                           Page 124
 1                  T. TOTH                                                          T. TOTH
 2       A Back in the day, yes. But I keep from                2   who these people are.
 3   doing so.                                                  3       A Okay.
 4       Q Not recently?                                        4       Q Because on the exhibits we received in the
 5       A No, I do not Google my name. I refuse.               5   complaint, it has everyone's name, okay.
 6       Q Are you aware that you have your image and           6       A Yes.
 7   videos on pornographic websites?                           7       Q So the first one I'm going to show you is
 8          MR. GOLASZEWSKI: Objection.                         8   Exhibit B of the complaint. Same photo, just with
 9       A It happens, yes.                                     9   the name redacted.
10       Q Are you aware of it though?                         10            Do you know who that is?
11           MR. GOLASZEWSKI: Objection.                       11        A Yes, that's Gemma.
12       A Yes. I mean, you can't control everything           12        Q That's Gemma. Are you friends with Gemma?
13    on the internet.                                         13        A I know her because she's a Playmate as
14       Q Did you authorizes pornographic websites            14    well.
15   to put your images or photos on their website?            15        Q Okay. I'm going to going to -- I'm sorry,
16       A No, not on their website.                           16    this is Exhibit D of the complaint.
17       0 Have you ever tried to remove photos or             17            It's a smaller photo, but do you know who
18    videos of yourself from any pornographic websites?       18    that is?
19       A I'm sure I have.                                    19        A That looks like Heather.
20       Q Any that you recall?                                20        Q Heather --
21       A I mean, I haven't Google in a long time.            21        A Heather Rae Young.
22   The only thing I search is on social media.               22        Q And if you could, turn to the next one
23       Q Are you familiar with the other plaintiffs          23    which is Exhibit E of the complaint.
24   in this case?                                             24            Do you know who that is?
25       A Yes.                                                25        A That would be Rachel, and Sabella on the



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Case 1:15-cv-08028-NRB Document 111-3 Filed 07/09/18 Page 14 of 20


TIFFANY TOTH                                                                                            April 13,2017
TOTH vs 59 MURRAY ENTERPRISES                                                                                 125-128
                                                 Page 125                                                          Page 127
1                   T. TOTH                                    1                 T. TOTH
2    right.                                                    2          Does that happen often?
3        Q Turn to the next one, Exhibit G of the              3          MR. GOLASZEWSKI: Objection.
4    complaint.                                               4        A When I'm made up and look like my photos,
5        A Okay.                                               5   yes.
6        Q Do you recognize anyone in any of those            6        Q When did you get to New York?
7    photos?                                                   7       A Last night.
8        A That would be -- oh, my God, why can't I            8       Q So when you got to New York, when you
9    think of her name right now.                              9   arrived in New York, going from the airport to your
10       Q But you know who she is?                           10    hotel and here today, has anyone recognized you?
11       A Yes. Her last name is Mayes.                       11           MR. GOLASZEWSKI: Objection.
12       Q Can you turn to the next one, please,              12       A No, because I did not like my photo.
13    Exhibit H. Can you turn to the photo.                   13       Q What about over the past week.
14           Do you know who that is?                         14           Has anybody stopped and you recognized
15       A That's Jessa Hinton.                               15    you?
16       Q Okay. Can you turn to the next one,                16       A I mean, sometimes people recognize me, but
17    please, Exhibit J?                                      17    they don't see anything. I'll see it later on my
18       A I'm sorry. Going back, it was Ursala.              18    social media like oh, I saw you here. Were you
19           MR. GOLASZEWSKI: Mayes.                          19    here? Sometimes they come up to my husband. So I
20       A It's a   unique  name.                             20    mean, they don't always tell you.
21        Q    Exhibit J, can you   look  at the  photograph? 21       Q So when you say when you're dressed up and
22       A Yes. That is      Jesse.   I  think  so. It's      22    when you're going for a photo shoot and you're in
23    pretty like grainy, but it looks  like it's Jesse.      23    makeup?
24        Q If you could turn to the next one, Exhibit        24           MR. GOLASZEWSKI: Objection.
25    L of the complaint.                                     25       Q I'm just trying to clarify what you said

                                             Page 126                                                            Page 128
 1                  T. TOTH                                  1                    T. TOTH
2      A That's Jesse for sure.                              2     before.
 3      Q If you could turn to the next one, Exhibit         3             You're saying when you're dressed up,
4    M of the complaint.                                     4     people recognize you?
5      A I do not know her.                                  5         A Sometime, yeah. I mean, there have been
6      Q Okay. You can turn to the next one,                 6     times I've been out and they recognize you too and I
 7   Exhibit N of the complaint.                             7     didn't look that great.
8      A That would be Sheena.                                8        Q So did you have any friends or fans
9       Q Okay. Next one, Exhibit 0 of the                    9    recognize you from the advertisements on the
10   complaint.                                              10     defendants' websites?
11      A That's carmen.                                     11            MR. GOLASZEWSKI: Objection.
12      Q Do you consider yourself famous or a               12         Q And inform you that you were associated
13   celebrity?                                              13     with the strip clubs?
14          MR. GOLASZEWSKI: Objection.                      14         A I mean, I don't always check all the
15      A I mean, if people recognizing when you're          15     comments. But sometimes, I mean, with all my
16   out. I mean, it kind of depends on who you ask.         16     followers, they'll see it or they'll comment to me
17      Q Just you personally, do you think of               17     or they'll message me.
18   yourself as a celebrity?                                18            What was the question exactly?
19          MR. GOLASZEWSKI: Objection.                      19         Q Do any of your friends or fans, anyone
20      A I mean, how do you define that really?             20     ever recognize you through the ads that were
21      Q Well, do you put yourself out for the              21     displayed by the Clubs?
22   public?                                                 22         A Yes.
23      A Yeah. So like an influencer, yes.                  23         Q Did somebody post something online
24      Q So you're saying people stop and even              24     informing you of this, or did somebody call you?
25   recognize you when you're out.                          25            Like how did you find out about that?


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Case 1:15-cv-08028-NRB Document 111-3 Filed 07/09/18 Page 15 of 20


TIFFANY TOTH                                                                                               April 13, 2017
TOTH vs 59 MURRAY ENTERPRISES                                                                                    129-132
                                                      Page 129                                                      Page 131
 1                  T. TOTH                                      1                   T. TOTH
2        Q I've had, like for example, like two years             2   right?
 3   ago, I was in New York walking through Time Square,          3       A Yes.
4    and I was walking to dinner with my husband, and            4        Q Do you consider this picture to be
 5   there's a picture of me, life-size in front of a             5   offensive?
6    strip club. Like sometimes I see them myself.               6           MR. GOLASZEWSKI: Objection.
 7   There has been times fans have sent me saying they           7       A Not the photo when I shot it, no.
 8   see it. I mean, it's so many people on social media          8       Q So what is offensive about this picture
 9   now, it's not hard to find.                                 9    then?
10           And obviously, like us models will look             10       A Because someone took this without my
11    out for each other. They could be like hey, I saw          11    permission and put it on their flyer to hopefully
12    your picture here. I mean, we all kind of know each        12    bring in business. And my job is, I get paid to
13    other.                                                     13    model, and they didn't pay me for this, and I don't
14        Q Has your agent -- does your agent know               14    do my job for free.
15    that your images were used to advertise for the            15        Q If you look at the --
16    strip clubs?                                               16        A And because it's a strip club, and I don't
17           MR. GOLASZEWSKI: Objection.                         17    choose to be associated with a strip club.
18        A I think -- yeah, I'm pretty sure. I think            18        Q You said that you saw your image walking
19    so.                                                        19    through Time Square in front of a strip club,
20        Q Did you tell your agent about it, or did             20    correct?
21    your agent tell you about it?                              21       A Yes.
22           MR. GOLASZEWSKI: Objection.                         22        Q Was it this image you saw?
23        A I don't remember.                                    23       A No, it was not this image.
24        Q When I say "your agent," I mean any of the           24        Q So turn the page, the second page of
25    agents that you have.                                      25    Exhibit A.

                                                   Page 130                                                            Page 132
1                  T. TOTH                                      1                    T. TOTH
 2       A Yes.                                                 2            Was it this image you saw?
 3       Q Let's go back a second. Talking about all            3        A No, not this.
4    three of your agents, did any of them ever contact         4        Q It's a different image?
 5   you and say your     likeness was  being   associated with 5        A Yes.
6    a strip club?                                              6        Q It's the image not in Exhibit A here?
 7       A No. I don't think that they -- I don't               7        A It's not for this company.
 8   remember.                                                  8        Q It's for a different strip club?
 9       Q Okay. Have you ever been contacted by a              9        A Yeah. I'm just saying, like I've seen my
10    strip club offering you employment?                       10    images out there.
11        A No. Not that I'm aware of.                          11        Q Have you seen your image being advertised
12        Q Since these images have been posted, have 12              in front of a strip club for any of these named
13    you been contacted by any strip clubs looking to          13    defendants in this lawsuit?
14    post your pictures to advertise for them?                 14        A No, because it was just that one time when
15        A No.                                                 15    I was in New York which I am not here often.
16        Q So as far as these images that were used            16        Q Which strip club is it that you saw
17    by the clubs, what did you do to try have those           17    advertising your picture?
18    images removed?                                           18        A I mean, that's all confidential. So I
19        A I contacted a lawyer.                               19    can't really say.
20        Q Let's go pack to the complaint which is             20        Q No, you could say. This is subject to a
21    marked as TT1.                                            21    confidentiality agreement.
22            The first photo of Exhibit 1 is in                22           MR. GOLASZEWSKI: If you know the name of
23    promotion of the Halloween party, correct?                23        the club that in which the billboard was in
24        A Yes.                                                24        front of, you can certainly testify to that.
25        Q At the strip club, as far as you know,              25        A I think it was the Diamond one. I'm not



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Case 1:15-cv-08028-NRB Document 111-3 Filed 07/09/18 Page 16 of 20


TIFFANY TOTH                                                                                           April 13,2017
TOTH vs 59 MURRAY ENTERPRISES                                                                                133-136
                                                    Page 133                                                      Page 135
 1                   T. TOTH                                    1                  T. TOTH
 2   familiar with like all strip clubs, because they           2      Q But you currently have multiple lawsuits
 3   have different affiliations.                               3   pending, correct?
 4       Q So you were saying before that you                   4      A Correct.
 5   contacted a lawyer.                                        5      Q Are the other establishments that you're
6           That wasn't regarding this lawsuit, it was          6   suing also strip clubs?
 7   regarding a different lawsuit against that club?           7      A Yes.
 8       A Correct.                                             8      Q All of them?
9        Q Without telling me the details of what               9      A Not all of them.
10    happened, is that matter still going on, or has it       10       Q What other establishments are being sued?
11    been resolved?                                           11       A Well, anyone I don't want to be affiliated
12        A It's been resolved.                                12   with. For example, swinger clubs or strip clubs.
13        Q How long ago did you resolved it?                  13       Q If you look at the second image on the
14        A I don't remember exactly.                          14    second page.
15        Q So going back to the first picture,                15          Do you find this advertisement to be
16    please, of Exhibit A of the complaint.                   16   offensive?
17           How did you first come to find out about          17          MR. GOLASZEWSKI: Objection.
18    this picture being used by the strip club?               18       A Not the picture itself. Well, kind of,
19        A I don't remember.                                  19    because it's saying that to leave anything to the
20        Q Did somebody bring this to your attention          20   imagination when the reality is even better.
21    or did you see this yourself?                            21   Meaning, that the reality of it is that I'm going to
22        A It could have been myself or it could have         22    be here at the strip club which is not true. False
23    been another model maybe saw it. I mean, if one of       23   advertisement.
24    us goes on there and sees one, we usually see girls      24       Q Okay. Thank you. We're going to stick on
25    we know, and we're not going to not tell each other.     25   Exhibit A. I'm going to go through -- these are
                                                  Page 134                                                      Page 136
 1                  T. TOTH                                    1                    T. TOTH
 2   But it's not hard. When you're on social media a           2   pretty specific allegations of the complaint. So
 3   lot, when it comes time for Halloween, there's a           3   I'm going to ask you certain things.
 4   million Halloween parties, and then someone steals        4            So looking in Exhibit A of the complaints
 5   your image. It's not that hard. They're out there.         5   with these pictures here -- you could go through
6    They're advertising, obviously, so it's reaching          6    them if you'd like.
 7   people, and I'm one of those people.                       7       A Okay.
8        Q So if you go on Google Images and you do a           8       Q What about these images do you believe is
9    search for you, you probably see a lot of pictures         9   misleading or false?
10    there that you didn't authorize of the use of,           10           MR. GOLASZEWSKI: Objection.
11    correct?                                                 11        A So what's false?
12           MR. GOLASZEWSKI: Objection.                       12        Q False or misleading about these images in
13        A There could be.                                    13    Exhibit A.
14        Q Have you ever done that, just done a               14        A It's giving people the idea that I'm going
15    Google Image search and look for the pictures that       15    to be at this event, and that I'm okay with being at
16    were published without your permission?                  16    a strip club -- I mean, being advertised that I
17        A When I was younger, yes.                           17    either work there or I'm going to be there.
18        Q But you don't do that anymore?                     18           What else does it say?
19        A I haven't done it in years.                        19           And that girls are guaranteed to cool you
20        Q So why do you choose to bring this                 20    off which is not true.
21    particular lawsuit?                                      21        Q Do you believe that using your image --
22        A Because I became aware of this one. I              22        A This --I'm sorry.
23    mean, I can only take one at a time. If I could do       23        Q No, I'm sorry. Continue.
24    them all, I would. But I will now, though, so thank      24        A This also says another hard week in front
25    you.                                                     25    of you. Come and get ready for it. Which I'm not


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Case 1:15-cv-08028-NRB Document 111-3 Filed 07/09/18 Page 17 of 20


TIFFANY TOTH                                                                                         April 13, 2017
TOTH vs 59 MURRAY ENTERPRISES                                                                              137-140
                                                     Page 137                                                  Page 139
1                   T. TOTH                                1                     T. TOTH
2    in front of whoever is going for this. Yeah, it's     2     you. So you have no way of knowing. So it's kind
 3   just offensive, because I'm not affiliated with any    3    of like going to an audition, you don't know why you
4    strip clubs.                                          4     didn't get the job. They're not going to call every
 5       Q Do you believe that using your image had         5    single person.
6    an effect on a person visiting the strip club?        6             So for example, had Playboy when was in my
 7       A Yes.                                             7    contract, and they saw this and thought I, you know,
 8       Q In what way?                                     8    shot for this or I'm appearing here, they won't book
 9       A Because if they's put a fat unattractive         9    me anymore. So I lose work, and they don't tell you
10    man on here, they would not show up.                 10     why. Playboy would, but most jobs, they're just
11        Q But do you think that using your image in      11     going to see you affiliated with this, and they're
12    particular, Tiffany Toth's image, had an effect on   12     not going to hire you
13    someone coming to the strip club?                    13         Q Do you believe that your personal
14           MR. GOLASZEWSKI: Objection.                   14     reputation has suffered because of this?
15        A Yes.                                           15            MR. GOLASZEWSKI: Objection.
16        Q Why?                                           16         A I mean, I -- personally, it's just
17        A Because I'm a Playmate, a model who models 17         offensive. I mean, people that know me, know me.
18    lingerie and costumes, and they figured in that that 18         Q And the people that know you, know that
19    brings male attention which is a lot of their        19     you didn't sign up for this, correct?
20    customers.                                           20         A Yeah, correct. But other people don't.
21        Q Wouldn't you agree that if you put the         21         Q Who is other people?
22    image of any attractive woman as the advertisement 2 2          A Society. People on social media. They
23    of the strip club, it would have the same effect as  23     figure if your face is on something, it was a job
24    having your image?                                   24     that you were paid for, that you agreed to that.
25           MR. GOLASZEWSKI: Objection.                   25         Q So as far as you know, were you ever

                                                   Page 138                                                   Page 140
                     T. TOTH                                1                 T. TOTH
2        A No.                                              2    turned down from a photo shoot because of these
3        Q Why not?                                         3    postings?
4        A Because they would have used their own           4       A They won't tell you. They just don't hire
 5   girls that really work there, but they didn't.          5   you.
6    Because if they believe that their girls bought in     6        Q So as far as you know, that didn't happen?
7    attention, they would have used them for it.           7        A I mean, you don't know. That's just not
8        Q What I'm saying is that could they have           8   like how the industry works. They just don't tell
9    used the image     of any woman   who  in a bikini, to 9    you.
10    advertise for the strip, having the same effect as 10           Q Do you contend that you have suffered
11    having you advertise for the strip club?              11    future loss of earnings because of these posting?
12            MR. GOLASZEWSKI: Objection.                   12      A It could, yes.
13        A I mean, there's no way to really     say for    13      Q Do you know when these photos were posted?
14    sure.                                                 14      A These ones on their social media?
15        Q Your opinion.                                   15      Q Yes.
16        A But it's not a fact, so I don't know.           16      A I mean, it usually says on them.
17        Q Do you claim that you were injured as a         17      •    You can look through.
18    result of these posting?                              18      A I don't know. It looks like it was
19        A Injured how?                                    19   cropped out, so it doesn't say exactly.
20        Q Damaged, economically dangered?                 20      Q So you could look at the second page. It
21        A I mean, for us in our industry, if they         21   actually has on there, April 15, 2014.
22    just -- when you don't -- how do I say this?          22      A Yeah.
23            If someone sees something they're not         23      Q I believe that's the only one with the
24    happy with or thinks you're affiliated with, they're 24    date.
25    not going to hire you and they're not going to tell 25             So the only one we see here is April 2014,



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Case 1:15-cv-08028-NRB Document 111-3 Filed 07/09/18 Page 18 of 20


TIFFANY TOTH                                                                                          April 13, 2017
TOTH vs 59 MURRAY ENTERPRISES                                                                               141-144
                                                  Page 141                                                     Page 143
1                  T. TOTH                                  1                        T. TOTH
 2   correct?                                               2       to third parties?
 3       A Correct.                                         3           A They do not.
4        Q And as of the date of filing this lawsuit        4           Q And it's because you say this is also this
 5   in January of 2016, are you aware of whether or not    5       the release for Mystery House?
 6   these pictures are still posted?                      6            A Yes, because I only signed for them to use
7        A I haven't checked recently.                     7        for their catalogs and their flyers.
 8       Q From January 2016 when this lawsuit was          8           Q Okay. And if you could look through the
 9   first filed, are you aware whether or not those        9       Exhibit A. I didn't see anywhere where it was
10    photos were still being used by these defendants?    10        indicated your name. Scroll through them.
11        A I don't remember.                              11               I didn't see anywhere where these
12        Q But you testified before that your income      12        defendants ever indicated this is Tiffany Toth; is
13                                    , correct?           13        that correct?
14             MR. GOLASZEWSKI: Objection.                 14               MR. GOLASZEWSKI: Objection.
15        A Yeah, because social media wasn't as big       15            A Correct. They don't need to.
16    as it is now.                                        16            Q And just looking at your complaint also,
17        Q When? 2014, it wasn't as big as it is          17        you claim that you've been dangered $75,000,
18    now?                                                 18        correct?
19        A Yeah. I don't even know if I was on            19               MR. GOLASZEWSKI: Objection.
20    Instagram. I mean, social media is kind of a bigger  20            A Correct. If that's what it says, yes.
21    thing than it was.                                   21            Q How did you come up with that number?
22        Q But as far as your personal income, from       22            A Well, I have an expert that helps me with
23    2014 to when these photos were first posted to 2015, 23        that, that knows how this works.
24                                            ?            24            Q Do you think that is a fair amount to be
25        A Probably because of social media too.          25        paid for these photos?
                                                    Page 142                                                  Page 144
1                    T. TOTH                                    1                T. TOTH
2        Q Because of social media, okay.                       2       A Yes.
 3          Do you have any feeling either way, or              3       Q Why do you think that's a fair amount?
 4   knowledge either way, whether or not these                4        A Because I would have never even done the
 5   defendants intended to use Tiffany Toth's pictures         5   job for any amount of money.
6    on their advertisement?                                   6        0 Now, do you know whether or not that these
 7          MR. GOLASZEWSKI: Objection.                        7    defendants knew that they didn't have permission to
8        A I have no way of knowing that.                       8   use your photographs?
9        Q Whether or not they knew you from before             9          MR. GOLASZEWSKI: Objection.
10    and chose your pictures to put on their website?         10       A I'm sorry, repeat that.
11           MR. GOLASZEWSKI: Objection.                       11       Q Do you have any knowledge either way
12        A They could have.                                   12    whether or not these defendants knew that they
13        Q Do you know -- and going back to what you          13    didn't have permission or a license to use these
14    said before -- is that these photos were taken on        14    photographs?
15    behalf of Roma and Mystery House, right.                 15       A I can't say that for sure. I mean, it's
16           Do you know whether or not Roma sold your         16    common knowledge. You don't just take photos.
17    photos to third parties?                                 17    Everybody has their rights. But I would assume they
18        A They do not.                                       18    knew better.
19        Q How do you know that?                              19           MR. SPIEGEL: Off the record.
20        A Because it's in their release. And they            20                 (Whereupon, an off-the-record
21    only use their images with, for example, a website       21                 discussion was held at this
22    that carries their product. That's all that the          22                 time.)
23    release allows.                                          23           MR. SPIEGEL: Rebecca Goldstein is just
24        Q Okay. And as far as Mystery House, are             24       going to ask a couple of questions.
25    you aware of whether or not they sell their images       25    EXAMINATION BY



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Case 1:15-cv-08028-NRB Document 111-3 Filed 07/09/18 Page 19 of 20


TIFFANY TOTH                                                                                            April 13, 2017
TOTH vs 59 MURRAY ENTERPRISES                                                                                 145-148
                                                  Page 145                                                    Page 147
1                  T. TOTH                                   1                   T. TOTH
 2   MS. GOLDSTEIN:                                           2       A I'd have to refer back to the paperwork.
 3      Q Have you ever heard of a company called             3       Q Okay. And how did you meet Peter Hamm?
4    Timed Out, LLC.                                          4       A I met him just like through the modeling
 5      A Yes.                                                5   agency -- not modeling agency, through the modeling
6       Q How are you affiliated with them?                  6    industry through my agent, NTA.
 7          MR. GOLASZEWSKI: Objection.                       7       Q NTA you said?
 8      A I know him personally.                             8        A Yeah.
 9      Q Who is him?                                        9        Q And they do your print work, are your
10       A Peter.                                            10    print agent?
11       Q Peter. What's his last name?                      11       A Yes.
12       A Peter Hamm.                                       12        Q So do you -- have you paid Timed Out or
13       Q And does Peter Hamm own Timed Out, LLC, to        13    Peter Hamm to help you in connection with these
14   the best of your knowledge?                             14    lawsuits?
15       A Correct.                                          15       A No, I haven't paid him.
16       Q What does Timed Out do?                           16        Q So does he pay you?
17       A Works as an agent, manager.                       17       A No.
18       Q And is Timed Out your agent?                      18       Q Do you have any type of written agreement
19       A At times, yes.                                    19    or any -- do you have any written agreement with him
20       Q What type of agent?                               20    or with Timed Out?
21       A Helps me with my like, I guess, you could         21       A I mean, I always have written agreements
22   say likeness of images. For example, like this kind     22    with my people, yes.
23   of situation.                                           23       Q And if you know, what's the subject of
24       Q So Peter Hamm is your agent or Timed Out          24    your agreement with Peter Hamm or Timed Out?
25   would be your agent for these purposes?                 25       A I'd have to refer back to it.

                                                    Page 146                                                        Page 148
 1                  T. TOTH                                   1                   T. TOTH
 2       A Well, his company is Timed Out.                    2      Q Have you ever owned any part of Timed Out?
 3       Q So to the best of your knowledge, is he            3      A No.
 4   the president of Timed Out?                              4      Q Or have any equity stake in it?
 5       A Yes.                                               5      A No.
6        Q Do you know if he's the only owner of the          6      Q And you said you weren't sure if they have
 7   company?                                                 7   any affiliation with this lawsuit, if they've helped
 8       A I'm not sure.                                      8   you with this at all?
9        Q So you said Timed Out and Peter Hamm help 9               A I'd have to look back. I'd have to took
10    you with situations like this.                         10    back at e-mails.
11           You mean this lawsuit?                          11       Q E-mails with Peter Hamm or Timed Out?
12        A Yes. I mean, if I contact him, yes, for          12       A Well, no. Just in general.
13    like advise or -- yeah.                                13          MS. GOLDSTEIN: Okay. I think that's all
14        Q And did you contact him in connection with       14       of that.
15    this lawsuit?                                          15       Q So have you understood all of the
16        A I don't know if it was this one or not.          16   questions that you were asked today?
17        Q But you've contacted him in connection           17       A To the best my knowledge, yes.
18    with other lawsuits that you've filed?                 18       Q Have you answered all of the questions
19        A Yes.                                             19   truthfully, to the best of your ability?
20        Q And was one of those Timed Out versus LA 20               A Yes.
21    Girl Jewelry?                                          21       Q And is there anything else that you feel
22           Does that  ring a bell?                         22   that's important to state today?
23        A Probably, yes.                                   23       A I don't think so. Just that I didn't give
24        Q Do you remember what your claims were in         24   permission or work for the company. So that's about
25    that case?                                             25   it.



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Case 1:15-cv-08028-NRB Document 111-3 Filed 07/09/18 Page 20 of 20


TIFFANY TOTH                                                                                                April 13, 2017
TOTH vs 59 MURRAY ENTERPRISES                                                                                     149-152
                                              Page 149                                                                       Page 151
 1                 T. TOTH                                      a
2          MS. GOLDSTEIN: Okay.                                 2   TT!2      photograph                                           50

 3         MR. SPIEGEL: John, do you have any                   3   TT13      photograph                                           54
4      follow-up questions?                                     4   TT14      photograph                                           57
 5         MR. GOLASZEWSKI: Nothing for plaintiffs.             5   T115      photograph                                           58
6          MR. SPIEGEL: Okay. We're done. Thank                 6   TT16      photograph                                           60
7      you.                                                     7   1717      sample release form                                  88
 8               (Whereupon, at 3:17 p.m., the                  8   TT1O      contract with Blackheart Rum                        100
9                examination of this witness was
                                                                9   TT19      2011 financial information                          104
10                concluded.)
                                                               10   TT20      2012 financial information                          104
11
                                                               11   1721      2013 financial information                          105
12
                                                               12   1122      2014 financial information                          106
       TIFFANY TOTH
13                                                             13   TT23      2015 financial information                          106

14                                                             14

15                                                             15            (Exhibits retained by Reporter.)

16 Subscribed and sworn to before me                           16
17 this      day of                           20     .         17
18                                                             18
19                                                             19
     NOTARY PUBLIC                                             20
20                                                             21
21
                                                               22
22
                                                               23
23
                                                               24
24
                                                               25
25
                                                Page 150                                                                     Page 152
 1                                                              1
 2                           INDEX                              2                 CERTIFICATE
 3   EXAMINATION BY                                  PAGE       3   STATE OF NEW YORK               i
 4   MR. SPIEGEL                                          4     4                                   :ss. :
 5   MS. GOLDSTEIN                                       144        COUNTY OF KINGS                 )
6                                                               5
 7              INFORMATION AND/OR DOCUMENTS REQUESTED          6
 8   INFORMATION AND/OR DOCUMENTS                    PAGE       7             I, AVERY N. ARMSTRONG, a Notary Public for
 9   contracts for the past 10 years with                 93    8   and within the State of New York, do hereby certify:
     Mystery House or Roma.                                                  That the witness whose examination is
                                                               9
10
                                                               10   hereinbefore set forth was duly sworn and that such
     2016 tax returns                                    103
                                                               11   examination is a true record of the testimony given
11
                                                               12   by that witness.
     witness's model release                             111
                                                               13             1 further certify that I am not related to
12
                                                               14   any of the parties to this action by blood or by
13                       EXH IBITS
                                                               15   marriage and that I am in no way interested in the
14   EXHIBITS                        FOR ID          PAGE
                                                               16   outcome of this matter.
15   TT1         second amended complaint                 7
                                                               17             IN WITNESS WHEREOF, I have hereunto set my
16   TT2           photograph                             26
                                                               18   hand this 13th day of April 2017.
17   TT3        photograph                               27
18   TT4        photograph                                30   19                                       grAf.   i
                                                                                                                    W
19   TT5        photograph                                30   20                                                   •I'cli
20   TT6        photograph                                33
21   TT7        photograph                                34   21                                   AVERY N. ARMSTRONG

22   TT8        photograph                                38   22

23   TT9        photograph                                43   23
24   TT10       photograph                                43   24
25   Till       photograph                                46   25




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